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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

 

 

 

 

 

JOSEPH FRIEDEN,
Plaintiffs, 5:18-CV-04045
v.
CAPITAL ONE BANK (USA) N.A. COMPLAINT
Defendant.
COMPLAINT
NOW COMES Plaintiff, JOSEPH FRIEDEN ("Plaintiff"), by and through his

attorneys, submits this Complaint against Defendant, CAPITAL ONE BANK (USA)

N.A. ("Defendant"), alleges as follows:

NATURE OF ACTION
1, Plaintiff brings this action on behalf of himself individually seeking damages

and any other available legal or equitable remedies resulting from the illegal
actions of Defendant, in negligently, knowingly, and/or willfully contacting
Plaintiff on Plaintiff's cellular telephone in violation of the Telephone

Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq.

JURISDICTION AND VENUE
2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.

§227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740

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PLAINTIFF°S COMPLAINT

 
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(2012), holding that federal and state courts have concurrent jurisdiction over

private suits arising under the TCPA.

. Venue is proper in the United States District Court for the Northern District

of Iowa pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within this
District and a substantial part of the events or omissions giving rise to the
herein claims occurred, or a substantial part of property that is the subject of

the action is situated within this District.

PARTIES

. Plaintiffis a natural person residing in O’Brien County, in the city of Sheldon,

lowa.

. Defendant is a Virginia corporation doing business in the State of lowa with

its principal place of business located in McLean, Virginia.

. Ataill times relevant to this Complaint, Defendant has acted through its agents

employees, officers, members, directors, heir, successors, assigns, principals,

trustees, sureties, subrogees, representatives and insurers.

FACTUAL ALLEGATIONS

. Defendant is a “person” as defined by 47 U.S.C. § 153 (10).

. Defendant placed collection calls to Plaintiff seeking and attempting to

collect on alleged debts incurred through purchases made on credit issued by

Defendant.

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PE.AINTIFF’S COMPLAINT

 
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9, Defendant placed collection calls to Plaintiff's cellular telephone at phone
number (712) 358-08XX.

10.Defendant placed collection calls to Plaintiff from phone numbers including,
but not limited to (800) 955-6600.

11.Per its prior business practices, Defendant’s calls were placed with an
automated dialing system (“auto-dialer”).

12.Defendant used an “automatic telephone dialing system”, as defined by 47
U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect
a consumer debt allegedly owed by Plaintiff, JOSEPH FRIEDEN.

13.Defendant’s calls constituted calls that were not for emergency purposes as
defined by 47 U.S.C. § 227(b)(1){A).

14.Defendant’s calls were placed to a telephone number assigned to a cellular
telephone service for which Plaintiff incurs a charge for incoming calls
pursuant to 47 U.S.C. § 227(b)(1).

15.Defendant never received Plaintiff's “prior express consent” to receive calls
using an automatic telephone dialing system or an artificial or prerecorded
voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

16. On November 14, 2017, Plaintiff called into Defendant’s company at phone

number (800) 955-6600. Plaintiff spoke with Defendant’s female

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representative and requested that Defendant cease calling Plaintiffs cellular
phone.

17.During the conversation on November 14, 2017, Plaintiff gave Defendant his
social security number and date of birth to assist Defendant in accessing his
accounts before asking Defendant to stop calling his cellular telephone on all
accounts,

[8.Plaintiff revoked any consent, explicit, implied, or otherwise, to call his
cellular telephone and/or to receive Defendant’s calls using an automatic
telephone dialing system in his conversation with Defendant’s representative
on November 14, 2017.

19, Despite Plaintiff's request to cease, Defendant continued to call Plaintiff after
November 14, 2017.

20.Despite Plaintiffs request that Defendant cease placing automated collection
calls, Defendant placed at least two hundred and four (204) automated calls
to Plaintiffs cell phone.

FIRST CAUSE OF ACTION

NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
PROTECTION ACT

47 U.S.C. § 227

21.Plaintiff repeats and incorporates by reference into this cause of action the

allegations set forth above at Paragraphs 1-20.

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PLAINTIFF?S COMPLAINT

 
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22.The foregoing acts and omissions of Defendant constitute numerous and
multiple negligent violations of the TCPA, including but not limited to each
and every one of the above cited provisions of 47 U.S.C. § 227 et seq.

23.As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

24,Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
the future.

SECOND CAUSE OF ACTION

KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECTION ACT

47 U.S.C. § 227 et. seq.

25.Plaintiff repeats and incorporates by reference into this cause of action the
allegations set forth above at Paragraphs 1-20.

26.The foregoing acts and omissions of Defendant constitute numerous and
multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above cited provisions of 47 U.S.C. §
227 et seq.

27.As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages,
for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

U.S.C. § 227(b)(3)(C).

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28.Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in

the future.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, JOSEPH FRIEDEN, respectfully requests
judgment be entered against Defendant, CAPITAL ONE BANK (USA) N.A.,
for the following:
FIRST CAUSE OF ACTION
29.For statutory damages of $500.00 multiplied by the number of negligent
violations of the TCPA alleged herein (204); $102,000.00;

30.Actual damages and compensatory damages according to proof at time of

trial;
SECOND CAUSE OF ACTION
31.For statutory damages of $1,500.00 multiplied by the number of knowing
and/or willful violations of TCPA alleged herein (204); $306,000.00;

32.Actual damages and compensatory damages according to proof at time of

trial;

ON ALL CAUSES OF ACTION
33.Actual damages and compensatory damages according to proof at time of
trial; -
34.Costs and reasonable attorneys’ fees, and;

35.Any other relief that this Honorable Court deems appropriate.

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JURY TRIAL DEMAND

36.Plaintiff demands a jury trial on all issues so triable.

Dated: May4Q 2018

 

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Attorney for Plaintiff

Pro hac vice application to follow

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